Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 1 of 12
                             Pageid#: 216
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 2 of 12
                             Pageid#: 217
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 3 of 12
                             Pageid#: 218
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 4 of 12
                             Pageid#: 219
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 5 of 12
                             Pageid#: 220
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 6 of 12
                             Pageid#: 221
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 7 of 12
                             Pageid#: 222
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 8 of 12
                             Pageid#: 223
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 9 of 12
                             Pageid#: 224
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 10 of 12
                             Pageid#: 225
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 11 of 12
                             Pageid#: 226
Case 5:07-cr-00037-GEC-JGW   Document 111   Filed 12/14/07   Page 12 of 12
                             Pageid#: 227
